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                           UNITED STATES DISTRICT COURT
                           WESTER DISTRICT OF TENNESSEE
                                WESTERN DIVISION


LEXINGTON ASSET MANAGEMENT (TN) LLC
and 1437 CENTRAL HOLDINGS, LLC,

       Plaintiffs,

v.                                                        No.

CERTAIN UNDERWRITERS AT LLOYD’S
SUBSCRIBING TO N17NA19000;                                JURY DEMANDED
SWISS RE CORPORATE SOLUTIONS
CAPACITY INSURANCE CORPORATION
f/k/a FIRST SPECIALTY INSURANCE
CORPORATION;
SCOTTSDALE INSURANCE COMPANY
d/b/a NATIONWIDE E&S; and
NAVIGATORS SPECIALTY INSURANCE
COMPANY, INC.,

       Defendants.


                                   NOTICE OF REMOVAL


       COMES NOW the Defendant, Scottsdale Insurance Company, by and through the

undersigned counsel, and hereby gives notice of removal of the above-captioned cause from the

Chancery Court of Shelby County, Tennessee, to the United States District Court for the Western

District of Tennessee, Western Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446(b). As

grounds for removal, Scottsdale states as follows:

                                          Background

       1.      On August 18, 2023, USI Property Services LLC – Premier Properties II, and

Lexington Asset Management, LLC filed a Complaint for Monetary Damages, Declaratory Relief,
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and/or Injunctive Relief against Lloyd’s, Lloyd’s Corporation, and Lloyd’s America, Inc. in the

Chancery Court of Shelby County, Tennessee, bearing Case CH–23–1100. (See Pls.’ Compl.).

          2.       On December 22, 2023, Lexington Asset Management (TN), LLC (“LAM”) and

1437 Central Holding, LLC (“Central Holding”) (collectively “Plaintiffs”) filed an Amended

Complaint for Declaratory Relief and Monetary Damages against Certain Underwriters at Lloyd’s

London Subscribing to N17NA19000 (“Underwriters”); Swiss Re Corporate Solutions Capacity

Insurance Corporation f/k/a First Specialty Insurance Corporation (“Swiss Re”); Scottsdale

Insurance Company d/b/a Nationwide E&S (“Scottsdale”); and Navigators Specialty Insurance

Company, Inc. (“Navigators”) (collectively “Defendants”).

          3.       In the Amended Complaint, Plaintiffs seek declaratory relief and recovery of

monetary damages from Defendants for amounts allegedly due under policies of insurance issued

by Defendants which insured Plaintiffs’ property located at 1437 Central Avenue, Memphis,

Tennessee 38104. (See Pls.’ Compl., ¶¶23–53). 1

          4.       On January 26, 2024, Scottsdale received copies of the Alias Summons and

Amended Complaint through its registered agent, Corporation Service Company, via certified mail

sent by the Tennessee Department of Commerce and Insurance.

          5.       Scottsdale seeks removal of this action to this Court pursuant to 28 U.S.C. § 1332,

based upon grounds that the controversy is wholly between citizens of different states and involves

an amount in controversy which exceeds $75,000.00, exclusive of the interest and costs.

          6.       Plaintiffs commenced this action in the Chancery Court of Shelby County,

Tennessee, which is within the territorial jurisdiction of the United States District Court for the


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    Plaintiffs assert five causes of action in their Amended Complaint against Defendants: “Count I – Declaratory
    Relief”; “Count II – Breach of Contract – Insurance Policy”; “Count III – Bad Faith”; “Count IV – The Defendants
    Must Deposit $986,968.77 with the Clerk and Master Prior to Filing a Responsive Pleading”; and “Count V –
    Miscellaneous Relief.” (Pls.’ Am. Compl., ¶¶32–58).


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Western District of Tennessee, Western Division. See 28 U.S.C. 123(c)(2). Accordingly, removal

to this Court is proper. See 28 U.S.C. § 1441(a).

                                     Diversity of Citizenship

        Plaintiffs

        7.      LAM “is a Tennessee limited liability company with a principal place of business

located in Memphis, Tennessee.” (Pls.’ Am. Compl., ¶2). Upon information and belief, the sole

member of LAM is a citizen of Tennessee.

        8.      Central Holdings “is a Delaware limited liability company with a principal place of

business in Memphis, Tennessee.” (Pls.’ Am. Compl., ¶3). Upon information and belief, the sole

member of Central Holdings is a citizen of Tennessee.

        Defendants

        9.      Underwriters is a descriptive term used to refer to the participants subscribing to

the Policy No. N17NA19000, which are organized under the laws of England and Wales, and

which maintain principal places of business in the United Kingdom.

        10.     Swiss Re is a Missouri corporation with its principal place of business in Kansas

City, Missouri.

        11.     Scottsdale is an Ohio corporation with its principal place of business in Columbus,

Ohio.

        12.     Navigators is a New York corporation with its principal place of business in New

York, New York.

                                     Amount in Controversy

        13.     The amount in controversy exceeds $75,000.00, exclusive of interest and costs.

        14.     In the Amended Complaint, Plaintiffs seek to recover the following monetary




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damages: “compensatory damages in the amount equal to $10,000,000 or whatever judgment

Plaintiffs obtain”; “bad faith damages in the amount of 25% and attorneys’ fees of 12.5% of the

amount of the loss pursuant to Tennessee Code Annotated § 56-7-105”; “punitive damages in

amount equal to the greater of twice Plaintiffs’ compensatory damages, $500,000, or the

constitutional limits”; “pre-judgment and post-judgment interest”; and attorney’s fees and costs

incurred. (See Pls.’ Am. Compl., pp. 9–10).

                                      Procedural Compliance

       15.       Scottsdale filed this Notice of Removal within the time prescribed by 28 U.S.C. §

1446(b).

       16.       All other Defendants—Certain Underwriters at Lloyd’s London Subscribing to

N17NA190000; Swiss Re Corporate Solutions Capacity Insurance Corporation f/k/a First

Specialty Insurance Corporation; and Navigators Specialty Insurance Company, Inc.—consent to

the removal of this action by Scottsdale, as evidenced by the Consent to Removal attached hereto

as an Exhibit.

       17.       Scottsdale will, promptly after filing, provide a copy of this Notice of Removal to

all adverse parties and to the Clerk of the Chancery Court of Shelby County, Tennessee, in

accordance with 28 U.S.C. § 1446(d), promptly after the filing

       18.       A copy of all process and pleadings filed and/or served in the state court action are

attached collectively as an Exhibit hereto in accordance with 28 U.S.C. §§ 1446(a) and 1447(b).

       19.       Scottsdale reserves the right to supplement or amend this Notice of Removal as

necessary and appropriate.




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       WHEREFORE, based on the foregoing, Scottsdale gives notice that the civil action,

bearing Case No. CH–23–1100, is hereby removed from the Chancery Court of Shelby County,

Tennessee, to this Court.


                                        Respectfully submitted,

                                        RAINEY, KIZER, REVIERE & BELL, PLC

                                        By:       s/ Russell E. Reviere
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on the 26th day of February 2024, a copy of the foregoing
was served electronically via the Court’s electronic case filing system and/or email to the below
listed counsel of record:

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 Attorneys for Defendants Certain Underwriters at Lloyd’s London Subscribing to
 N17NA190000; Swiss Re Corporate Solutions Capacity Insurance Corporation f/k/a First
 Specialty Insurance Corporation; and Navigators Specialty Insurance Company, Inc.


                                                           s/ Russell E. Reviere




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